                       UNITED STATES BANKRUPTCY COURT FOR THE
                             MIDDLE DISTRICT OF ALABAMA
IN RE:
ALLEGRO LAW, LLC,                                                Case No. 10-30631-WRS
                                                                 Chapter 7
         Debtor.
CARLY WILKINS, as Trustee for
Debtors Allegro Law, LLC and
Allegro Financial Services, LLC
         Plaintiff,
vs.                                                              Adv. No. 11-03007
TIMOTHY MCCALLAN, ET AL
         Defendants.



MOTION TO DETERMINE COMPLIANCE WITH THE CIVIL CONTEMPT ORDERS
               AND FOR THE IMMEDIATE RELEASE OF
                      DEFENDANT MCCALLAN FROM INCARCERATION




         COMES NOW the Defendant Tim McCallan (“McCallan”), by and through the

undersigned Counsel and moves for an order determining that Defendant McCallan satisfied the

purge requirements as provided for within the various Orders of this Court. Further, Defendant

moves for an order granting his immediate release from incarceration. In support, Defendant

McCallan would aver:




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 1. A hallmark of civil contempt is the contemnor’s ability to “purge the contempt and obtain

    his release by committing an affirmative act,” thus “carr[ying] the keys of his prison in his

    own pocket.” International Union, United Mine Workers of America v. Bagwell, 512 U.S.

    821, 828 (1994).

 2. A sanction is “punitive and criminal if it is imposed retrospectively for a completed act of

    disobedience, such as the contemnor cannot avoid or abbreviate the confinement through

    later compliance.” Bagwell at 828-29.

 3. “A troublesome aspect of a trial court’s power to impose sanctions, either as a result of a

    finding of contempt, pursuant to the court’s inherent power, or under a variety of rules … is

    that the trial court may act as accuser, fact finder, and sentencing judge, not subject to

    restrictions of any procedural code and at times not limited by any rule of law governing

    the severity of sanctions that may be imposed.” Mackler Prods., Inc. v. Cohen, 146 F.3d

    126, 128 (2d Cir. 1998).

 4. “The absence of limitations and procedures can lead to unfairness or abuse” and “[f]or that

    reason, appellate courts have ruled that, in certain sanctions proceedings, the person facing

    imposition of sanctions should have the benefit of the procedural protections available to a

    person charged with a crime” including “the right to a public trial … presumption of

    innocence … and the requirement of proof beyond a reasonable doubt.” Id.




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 5. “[W]hen civil contempt sanctions lose their coercive effect, they become punitive and

    violate the contemner’s due process rights.” Commodity Futures Trading Comm’n v.

    Wellington Precious Metals, Inc., 950 F.2d 1525, 1530 (11th Cir.1992).

 6. It is within this Court’s inherent authority to enforce its own orders. Link v. Wabash

    Railroad Co., 370 U.S. 626, 630-31 (1962) (holding that judicial power to dismiss arises

    from court’s inherent authority to enforce its orders); see also Gratton v. Great American

    Communications, 178 F.3d 1373, 1374 (11th Cir. 1999) (recognizing that court has broad

    authority under Rule 37 to control discovery and enforce its orders).

 7. The February 6, 2018 Order of this Court was clear as to the requirements for Defendant

    McCallan to purge his contempt. Defendant was required to demonstrate that he had

    purged himself of contempt by complying with the following conditions: (1) he must

    provide updated responses to specifically enumerated discovery requests, including two

    sets of interrogatories and three sets of requests for production; (2) he must file an updated

    accounting for the $498,000 that was in the Wells Fargo account; (3) he must amend his

    bankruptcy schedules and statement of financial affairs in bankruptcy case number

    17-30961; and (4) he must file a certification that he has complied with the February 6,

    2018 Order. (Doc. 629, pp. 2-3). This Court further ordered that “[w]ithin thirty days after

    the date of McCallan’s certification, Wilkins (Trustee) shall file a response as to whether

    she agrees that McCallan’s responses are complete.” (Doc. 629, p. 3). Defendant McCallan

    filed a sworn affidavit and certification that he has complied with the February 6, 2018

    Order. (Doc. 699). Included within that certification, Defendant stated that he had filed an




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    updated accounting for the $498,000 that was in the Wells Fargo account, and had

    amended his bankruptcy schedules and statement of financial affairs in bankruptcy case

    number 17-30961. Defendant also stated that he had fully complied with the required

    discovery production.   The Trustee did not agree that McCallan had fully complied.

 8. It is uncontested that Defendant’s discovery responses pursuant to the February 6, 2018

    Order were complete. Judge Sawyer acknowledged that fact within his oral pronouncement

    on May 25, 2018 by stating “I want to make clear that – and Mr. McCallan with Ms.

    Eckstein’s help did, in fact, file a complete set of responses, answers to interrogatories,

    requests for production of documents. We’ve got the document. We’ve looked at them. We

    went through them in some detail. And after a couple of hours or so, I stopped Mr.

    Widerman and said, okay, I get it, you filed complete responses. If I was – I think if

    anybody was simply looking at the interrogatories and the responses, they’d say, yes, these

    are full, complete responses to what’s asked. (Hr’g TR, 216-17:22-25/ 1-6, May 25, 2018)

    However, despite filing complete responses to the documents required to purge his

    contempt, Defendant McCallan is still in jail for the same continued contempt.

 9. In order for civil contempt to remain civil and coercive, the contemnor must have the

    ability to purge the contempt. Although this Court used the magic “keys to his jail cell”

    words within its October 24, 2017 order of incarceration, it ultimately did not honor those

    words by releasing Defendant from incarceration when the undisputed evidence before this

    Court, and acknowledged by Judge Sawyer himself, showed that Defendant McCallan had

    satisfied the purge requirements of the February 6, 2018 Order. Defendant McCallan




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    respectfully asks this Court to decree that the purge requirements contained within this

    Court’s February 6, 2018 order have been satisfied by Defendant. Based upon this purge

    satisfaction, Defendant McCallan respectfully asks this Court to grant his immediate

    release from incarceration.

 10. Over the course of various post-judgment hearings the Trustee has made allegations that 1)

    McCallan has secreted an estimated $16 million, 2) that once the Trustee obtained all the

    backup information, the actual amount secreted would be higher than the $16 million,

    3) McCallan may have funneled the funds through his companies to hide it. McCallan

    denies these allegations and is attempting to prove them incorrect.

 11. To further his assertions, the McCallan team requested the servers that were confiscated by

    the Trustee prior to the Judgment. The Trustee sent copies the servers to the Fritz Law

    Firm around September 7, 2018. They were then shipped to Melbourne, Florida to be

    examined by a computer programmer.

 12. It was determined that a cloud hosting data company, Creative Networks Innovations, Inc.

    (CNI) held all backup storage of all of McCallan’s company servers.         CNI would not

    release the information voluntarily.   On September 25, 2018 McCallan subpoenaed the

    information held by CNI. That information was provided to McCallan about October 19,

    2018.



 13. Around October 23, 2018, the McCallan computer expert was able to access the data held

    by CNI through an accounting software MAS 200. When McCallan’s team had the copy of




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       the servers, the CNI information and MAS 200 software they were able to review every

       posted transaction from the McCallan controlled companies and his personal check

       register.


   14. All of the information used in the MAS 200 was in the possession of the Trustee or CNI.

       The information was not in the care, custody or control of McCallan until they responded

       to the subpoena.     The Trustee was aware that CNI had previously held such data.

       McCallan never hid that fact.

   15. On December 4, 2018 Lucy Tuft acknowledged receipt of the hard drive that contained the

       MAS 200 data. Also, on December 4, 2018 the undersigned emailed detailed instructions

       on how to open and use MAS 200.

   16. McCallan believes that the newly discovered corporate accounting records that include

       General Ledgers, Balance Sheets, Income Statements and Check Registers of all McCallan

       controlled entities. This information will explain where and when all of the monies were

       disbursed after they left McCallan’s personal control.

   17. McCallan believes the information in MAS 200 will reveal that any money transferred to

       the companies were used for legitimate business expenses of those companies and that it

       will also confirm that the money was not secreted by McCallan.

WHEREFORE, Defendant McCallan respectfully requests an order determining that Defendant

McCallan satisfied the purge conditions as dictated within Order of this Court. Further, Defendant

respectfully requests an order granting his immediate release from incarceration, or in the

alternative, to be released under Court ordered house arrest.




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                                                     Respectfully submitted by,

                                                     /s/ Michael A. Fritz, Sr.

                                                     Michael A. Fritz, Sr.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this the 4th day of January, 2019, I served the foregoing by email
and/or US Mail, postage pre-paid to the following:



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                               /s/ Michael A. Fritz, Sr.
                               Michael A. Fritz, Sr.




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